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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OKLAHOMA


   ADAM CLAYTON ZILM,                       )
                                            )
                    Petitioner,             )
                                            )
   v.                                       ) Case No.: 20-cv-509-CVE-JFJ
                                            )
   SCOTT CROW, Warden,                      )
                                            )
                    Respondent.             )



    BRIEF IN SUPPORT OF PETITION FOR WRIT OF HABEAS CORPUS
     BY A PERSON IN STATE CUSTODY PURSUANT TO 28 U.S.C. § 2254



                                      Submitted by


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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA



   ADAM CLAYTON ZILM,                     )
                                          )
                       Petitioner,        )
                                          )
   v.                                     )       Case No.:   20-cv-509-CVE-JFJ
                                          )
   SCOTT CROW, Warden,                    )
                                          )
                       Respondent.        )



    BRIEF IN SUPPORT OF PETITION FOR WRIT OF HABEAS CORPUS
     BY A PERSON IN STATE CUSTODY PURSUANT TO 28 U.S.C. § 2254




         Petitioner, Adam Clayton Zilm, Oklahoma Department of Corrections prisoner

   No. 751530, is incarcerated at the Lawton Correctional Facility, Lawton, Oklahoma,

   pursuant to a sentence of life imprisonment. The judgment and sentence was

   obtained by the State of Oklahoma through a state judicial process in violation of the

   laws and Constitution of the United States of America. This is Zilm’s first Petition

   for federal habeas relief.




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                            I.   PRIOR PROCEEDINGS

   A.    ORIGINAL CONVICTION.

         Court:      District Court of Tulsa County, State of Oklahoma.

         Case No.:   CF-2012-3037.

         Charge:     Sexual Abuse–Child Under 12.

         Plea:       Not Guilty.

         Sentences: 36 years.

         Counsel:    Allen M. Smallwood, Tulsa, OK

   B.    DIRECT APPEAL.

         Court:      Oklahoma Court of Criminal Appeals

         Result:     Affirmed in a written, but unpublished, Summary Opinion Adam
                     Clayton Zilm v. State, No. F-2017-67 (Okl.Cr., September 6,
                     2018).

         Counsel:    James L. Hankins, Oklahoma City, Oklahoma.

   C.    STATE APPLICATION FOR POST-CONVICTION RELIEF.

         N/A

   D.    CERTIORARI.

         Zilm sought review in the Supreme Court, which denied certiorari on October

   7, 2019. Zilm v. Oklahoma, No. 18-1043 (U.S.)

         Zilm has no other legal proceedings pending.

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                          II.   STATEMENT OF THE CASE

         Zilm was charged by felony Information in Tulsa County on July 12, 2012,

   with a single count of Sexual Abuse–Child Under 12. O.R. 28. Preliminary

   examination was held before the Hon. David Youll, Special Judge of the District

   Court in Tulsa County on September 26, 2012. At the conclusion of the evidence,

   Judge Youll overruled the defense demurrer and bound Zilm over the trial. P.H. Tr.

   09/26/2012 at 63.

         However, District Judge Kurt Glassco ruled on October 7, 2013, from the

   bench–followed up by a written Order filed October 8, 2013–that State agents had

   exercised unreasonable influence over the minor complaining witness, K.A., ordered

   that the preliminary examination was a nullity, and ordered the case remanded for a

   new preliminary examination. O.R. 338-39; Tr. 10/07/2013.

         The second preliminary examination was held on November 6, 2013, before

   the Hon. Clifford Smith, Special District Judge of the District Court of Tulsa County.

   At the conclusion of the evidence, the Court overruled the demurrer of the defense

   and bound Zilm over for trial. P.H. Tr. 11/06/2013 at 96-97.

         Prior to trial, a hearing was held before the Hon. Kurt Glassco pursuant to state

   law concerning the reliability of statements made by K.A., and the efforts of the

   defense to suppress them. At the conclusion of the hearing on September 12, 2014,

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   Judge Glassco ruled that the hearsay statements of K.A. to forensic interviewer Amy

   Howard and to neighbor Katherine Sanford lacked sufficient indicia of reliability and

   ordered them suppressed. Tr. 09/12/2014.

         The State appealed this ruling to the Oklahoma Court of Criminal Appeals,

   which on August 6, 2015, issued a written, but unpublished Opinion affirming the

   trial court’s order of suppression of the hearsay statements. O.R. 511 (State v. Adam

   Clayton Zilm, No. S-2014-812 (Okl.Cr., August 6, 2015), slip op.)

         Jury trial began in the courtroom of Judge Glassco on November 14, 2016, and

   concluded on November 18, 2016, when the jury found Zilm guilty and recommended

   sentence of 36 years. Tr. Vol. V at 64; O.R. 674. Formal sentencing was had on

   January 20, 2017, at which Judge Glassco sentenced Zilm in accordance with the

   verdict of the jury. Sent. Tr. 01/20/2017 at 33.

         Zilm filed notice of intent to appeal and designation of record on January 20,

   2017. O.R. 716-24. On September 6, 2018, the Oklahoma Court of Criminal Appeals

   issued a written, but unpublished, summary opinion denying relief in Adam Clayton

   Zilm v. State, No. F-2017-69 (Okla. Crim. App.).

         Zilm sought certiorari review in the United States Supreme Court, which

   denied review on October 7, 2019, in Zilm v. Oklahoma, No. 18-1043 (U.S.).

         This is Zilm’s first petition for habeas corpus relief in federal court.

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                         III.   STATEMENT OF THE FACTS

         On June 4, 2012, Katherine Sanford lived in Tulsa, Oklahoma. Tr. III 121-25.

   Sanford was employed by DHS, but was suffering from Lyme disease, which attacks

   her brain (she had five brain lesions, including one on her brain stem) and made

   remembering things difficult. Id.; 130-31.

         Nevertheless, she remembered that on this date that one of her neighbors lived

   across the street and two doors down with her boyfriend and children (and the

   boyfriend even came over one day to introduce himself). The boyfriend, and fiancee,

   was Adam Zilm. Id.

         One of the children, who was 11-years-old at the time, was K.A. Id.

         On June 4, 2012, at approximately 6:00 a.m., someone knocked on Sanford’s

   door, Sanford instructed her roommate to open it, and it was K.A., who was upset,

   crying, shaking, and soaking wet. Id. According to Sanford, K.A. was upset because

   she believed that she had been sexually assaulted by Zilm (“She said that he tried to

   put [his penis] in her butt.”) Id. 133.

         Sanford called K.A.’s mother, and eventually the police. Id. 133-35. Sanford,

   no doubt, did the right thing in contacting the police, which initiated the investigation

   into what exactly happened to cause such a reaction by K.A. K.A. was clearly upset

   by something, but what exactly had occurred?

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         This was the question at issue at trial.

         According to the State, Zilm, who was an experienced licensed masseuse who

   made his living as a massage therapist, gave K.A. a massage earlier that morning and

   had sexually assaulted her in the process. Tr. II 185-90 (State’s opening statement).

         In contrast, the defense pointed out that Zilm had no priors, was a certified

   massage therapist, was a caring father to the kids, had never asked to massage any of

   the children, and gave massages to K.A. at her request on two occasions just as a

   normal massage therapist would with a client. Tr. II 205-10.

         Also, as it turned out, K.A. had been sexually abused in the past, when she was

   5-years-old by a “shirttail uncle” while living in Louisiana (a case that was not

   prosecuted, nor was the uncle punished). Id. On the night in question, K.A. drifted

   off to sleep during the massage (a common thing), and she had a nightmare about

   being sexually abused by “uncle David” in Louisiana (which was a common

   occurrence for K.A.), and she reacted to a jab in her rear-end area and awoke, which

   prompted Zilm to say, “Oh, I’m sorry, sweetheart, did that hurt?” Tr. II 210.

         After the massage, Zilm went to sleep, but K.A. was still confused about what

   was real and what was a dream, which is why she ended up at Sanford’s house. In

   fact, she knew Zilm had not abused her, knew his character, knew that she had made

   a mistake, and she recanted (unprompted by Zilm or anyone else) on her own almost

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   immediately after the event, saying, “I’m sorry. I told something that didn’t happen.”

   Tr. II 211-16. Nor was there any DNA evidence. Id.

         In fact, to this day, K.A. is adamant that Zilm did nothing inappropriate.

         Despite the fact that K.A. recanted, continued to assert that the entire episode

   was a misunderstanding, and there was no DNA evidence to support her initial

   statement, the first witness called by the State was K.A. Tr. II 217.

                        REMAND & RELIABILITY HEARING

         Before delving into the testimony of K.A. at trial, and how that played out, it

   is important to provide the Court background on how the State handled her initial

   allegation against Zilm–and her recantation. Several pre-trial matters were litigated

   regarding the statements of K.A., and the resolution of those matters by the trial court,

   and this Court via a pre-trial State appeal, inform this Court’s assessment of K.A.’s

   trial testimony and the actions of State officials.

         1.     REMAND FOR A SECOND PRELIMINARY EXAMINATION.

         First, in the earlier pre-trial proceedings, defense counsel moved to dismiss or

   remand for a new preliminary examination after it had come to light that the State had

   failed to divulge exculpatory evidence.

         At the first preliminary hearing before Judge Youll, there were quite a bit of

   leading questions by the prosecutor, but the gist of the testimony by K.A. was that,

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   during a massage that she had received from Zilm, he had placed his penis inside her

   anus. Tr. 09/26/2012 at 24-25.

         Naturally, such testimony clearly constituted a crime. But, as it turned out,

   K.A. had asserted that four State agents–including prosecutor Sarah McAmis–coerced

   her into testifying that way even though she wanted to recant and set the record

   straight. According to K.A., pressure, lies and coercion from State actors is the

   reason why she testified to being anally penetrated by Zilm at the first preliminary

   examination.

         It turned out that these accusations were true.

         After this first preliminary examination, defense counsel had become aware

   that K.A. had recanted the allegation; and that the recantation had occurred the day

   after the incident, or possibly the next day, when K.A. had taken it upon herself,

   unprompted by anyone, to call Zilm and apologize for making a mistake, and that she

   had misconstrued his actions that night. Defense counsel only learned about this

   recantation from K.A.’s mother, Kristi Alvarez, and upon his review of the court file

   in the juvenile case. O.R. 302.

         This is important because some of the relevant facts spill over into the

   DHS/juvenile case regarding custody of K.A. and the other children, and the

   prosecutor had failed to divulge any of it either to the court or the defense; it was

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   discovered only through the efforts of defense counsel who had to litigate the issue

   to obtain the DHS/juvenile court records.1 Defense counsel noted pre-trial that DHS

   worker Lori Hannagan had written an affidavit in the juvenile case in which K.A. told

   Hannagan:

         “[K.A.] might have been mistaken Mr. Zilm might not have done
         anything. She just got scared and thought about the time when she was
         5 and something like this happened to her.”

   O.R. 303 (in addition, Barbara Davis, the maternal grandmother of K.A. and Jessica

   Swinny-Raush, a friend of the natural mother, both informed counsel that shortly after

   the incident K.A. had disclosed to both of them that she had “lied” about what

   happened; and that she had confused the innocent actions of Zilm with a nightmare

   that she was having of a prior instance of sexual abuse).2

         Counsel took it upon himself to take a sworn statement from K.A., with a court

   reporter present on July 24, 2013, during which K.A. confirmed that she had recanted



         1
                Defense counsel was allowed access to the juvenile file regarding the
   placement of the children, and it was in those files that he discovered–without any
   notice from the State–that K.A. had recanted 24 to 36 hours after the initial
   allegations. Tr. IV 38.
         2
                Defense counsel was allowed by the trial court, Judge Glassco, who
   conferred with the Juvenile Court, Judge Fransein, to review the juvenile court
   records and take notes, but defense counsel was restricted to note-taking only, and
   was prohibited from making copies of any documents in the juvenile file. Tr. IV 36-
   37.
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   within a day or two of the incident. O.R. 304; O.R. 152 (sworn statement of K.A.).

         K.A. also stated that she testified to the sexual assault by Zilm at the first

   preliminary examination only because she was told by Amy Howard (the forensic

   questioner from the juvenile center) that if she did not, then she might not be given

   back to the custody of her mother (at that time, K.A. had been placed in the custody

   of her uncle by the juvenile court). O.R. 304; O.R. 172-73 (Amy “told me to say what

   I said before and I’d get to go back to my mom and live with her again”)3

         More disturbing, it came to light that DHS worker Lauren Hall, who worked

   with the Alvarez children in the juvenile case, went to the home and spoke to each of

   the children prior to a hearing in juvenile court concerning placement of the children.

   O.R. 304. Hall told K.A. that no one believed her recantation, and that everyone

   believed her first statement alleging sexual assault by Zilm, because DNA evidence

   proved the allegations. O.R. 304. This statement by Hall to K.A. was, of course,

   false because the State had provided DNA testing results proving that no male DNA

   was found on K.A. O.R. 304.

         Thus, after the first preliminary examination was held, there were serious



         3
                  During the sworn statement with defense counsel, K.A. stated that prior
   to the first preliminary examination she spoke to “I think that Amy girl.” O.R. 172.
   In his moving papers, defense counsel clarified “that Amy girl” had to have been
   Amy Howard, the forensic questioner at the juvenile center. O.R. 326.
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   questions surrounding the credibility of K.A., and the State regarding its Brady

   duties. As it turned out, the State had failed to disclose: 1) that Amy Howard coerced

   the child, K.A., into sticking with her original story by scaring the girl with the

   assertion that she had to do so in order to live her mother again; and 2) Lauren Hall

   coerced K.A. to stick with the original allegation by falsely telling this 11-year-old

   girl that DNA evidence proved that Zilm was guilty when Hall knew it was false.4

         These facts did not fall on deaf ears in the trial court.

         Judge Glassco issued a written Order on October 8, 2013, finding as a matter

   of fact that prior to the preliminary examination, State agents had “exercised

   unreasonable influence on the minor child “K.A.” to secure testimony to which she

   had since recanted repeatedly.” O.R. 339. This is the reason that the case was

   remanded for a second preliminary examination. Id.

         Thus, prior to trial, we have evidence already that juvenile/DHS workers had

   coerced K.A. into sticking to her original story by lying to her about the existence of



         4
                The false statements made by Lauren Hall to K.A. about the DNA
   evidence were recorded by K.A. herself because she was so distrustful of DHS
   workers (see Defendant’s Exhibit #1), and were listened to and relied upon by Judge
   Glassco in making his determination that the State had exercised unreasonable
   influence in this matter. O.R. 338; Tr. IV 17-23; see also Tr. 09/09/2014 at 7
   (defense counsel referencing the “direct lie” to K.A. told by Lauren Hall “which
   we’ve all heard on tape, telling her that nobody believes the second statement because
   there was DNA evidence to support the first statement.”)
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   DNA evidence, and raising the specter in this child’s mind that she would not get to

   live with her mother again if she insisted on recanting; and the prosecutor’s office did

   not breathe a word of it to the defense prior to trial.

          As bad as this was, there was still more to come, this time at the reliability

   hearing on the hearsay statements made by K.A.

          2.     THE RELIABILITY HEARING.

          The State sought to introduce hearsay statements made by K.A. to Amy

   Howard (the “child specialist” at the Child Abuse Network) and Katherine Sanford

   (the neighbor to whom K.A. went directly after the incident). See Tr. 09/09/2014.

          At this hearing, the trial court heard testimony from both Howard and Sanford,

   and in an unusual procedure, from K.A. herself, who was subpoenaed by the defense,

   was represented by counsel, and who insisted on being heard. Tr. 09/09/2014 at 7

   (“Judge, my client very much wants to give testimony to the Court today.

   Specifically regarding her belief that this has been a mistake and her attempt to try to

   correct it, her inability to do so...she wants to testify.”)

          The State objected to the trial court hearing testimony from K.A., citing “a

   stack of case law to argue” that the testimony of K.A. would not be proper, but the

   trial court was not impressed and allowed it. Id. 4, 118.

          On the stand yet again in this case, K.A. insisted this time that Zilm did nothing

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   wrong, that she had told the neighbor (Sanford) only that she “had a nightmare” and

   in fact had told all of this to the prosecutor in the case, Sarah McAmis. Id. 122-23.

   K.A. pointedly told the trial court that Sarah McAmis is the one who told her that if

   she said what she said in the beginning, her original story implicating Zilm, then “you

   can go back to your mom.” Id. 124. It is important to note that these accusations

   leveled against the prosecutor by K.A. were elicited from K.A. by questions posed by

   Judge Glassco, not defense counsel.

         And it gets worse.

         There was yet another juvenile case agent named Lori Hannagan who told K.A.

   to explain her recantation by blaming it on her mother. According to K.A., and

   remember that this is in response to questioning by Judge Glassco and not defense

   counsel, Hannagan told K.A. to just say that her mother told her to say that nothing

   happened in order to explain the recantation. Id. 123-24; 127.

         This was a conversation that occurred at the juvenile shelter where Hannagan

   told K.A. to just say it was her mother who told her to recant, that way K.A. could go

   back home to her mother and get out of the shelter. Tr. 127. In response, K.A.

   testified, “I just sat there. Didn’t say anything to her.” Id.

         K.A. clarified that her mother had never told her to say any such thing. Id. 128.




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         It thus appears that Hannagan attempted to get K.A. to completely fabricate

   evidence in this case, and in a coercive way by tying the fabrication to K.A. being

   able to see her mother again.

         After hearing the testimony of K.A., prosecutor Sarah McAmis scurried to

   make a record with the trial court that she “would never, could never, should never,

   have never, stated to this victim, or any other victim, that they should testify a

   particular way.” Id 137. However, Judge Glassco had heard enough, and issued a

   ruling from the bench finding the hearsay statements made by K.A. to forensic

   interviewer Amy Howard and the neighbor Katherine Sanford to be unreliable and

   therefore inadmissible. Tr. 09/12/2014 at 16-18.

         It is particularly noteworthy that Judge Glassco found Katherine Sanford not

   credible–that is, he ruled that the hearsay statements made by K.A. to Sanford were

   unreliable, but he also found Sanford, as a witness, to be not credible. According to

   Judge Glassco, he had “a very difficult time following the testimony of that witness.

   And she appeared to the Court to change her testimony as to what happened during

   the time that she was here.” Id. 18.

         Unhappy with this result, the State gave notice of intent to appeal. Id.

         The State’s appeal was heard by this Court, which on August 6, 2015, issued

   a written, but unpublished, opinion affirming the ruling of Judge Glassco. O.R. 511.

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   The State presumably produced the “stack of case law” in support of its position that

   the trial court erred in allowing K.A. to testify at the reliability hearing but, notably,

   this Court held that the law not only allowed K.A. to testify, but also that the facts of

   this case required it.5 O.R. 513.

         Thus, it was with this background that the trial proceeded before a jury.

                                        THE TRIAL

         K.A. was the first witness called by the State. Tr. II 217.

         She told the jury that she was then in the 9th grade, and in light of the foregoing

   background, in which she had spent years trying to convince authorities that the entire

   incident was a misunderstanding triggered by her prior abuse in a dream-state, and

   was repeatedly coerced and lied to by authorities to convince her to drop her

   recantation, K.A. was decidedly hostile to being in court testifying against Zilm. Id.

   217-18 (she did not want to be in court and wanted the matter to simply go away).

         Nevertheless, the State proceeded to question K.A. about her family

   background. Her mother was Kristi Shaneck, and she had three siblings: two sisters

   P.A. (16), G.A. (10), and a brother, E.A. (13). Zilm was her mother’s fiancee and

         5
                  On the legal proposition of the minor complaining witness testifying at
   the reliability hearing, this is allowed under OCCA case law in F.D.W. v. State, 2003
   OK CR 23, ¶5, 80 P.3d 503, 504 (“[i]n some cases, the determination of reliability
   may require that the child witness testify, or that a separate hearing with the court be
   conducted”). O.R. 513.
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   lived with them. Id. 217-28. When the police got involved, she was temporarily

   removed from the home, was eventually placed back with her mother, but was

   prohibited from having contact with Zilm. Id.

         K.A. testified that at some point during the morning of June 4, 2012, she went

   outside and waited behind a dumpster, and that it was sprinkling a little bit. Id. 230.

   She went to the neighbor’s house, did not remember if they had a doorbell, but

   remembered them coming to the door. Id. 230-31. She then told them that, “I had a

   dream, like a nightmare.” Id. 231.

         Clearly, K.A. was not telling the prosecution what it wanted to hear, so the trial

   developed into a spectacle of the prosecutor impeaching the State’s own witness with

   prior testimony from the first preliminary examination–the one that had been declared

   a “nullity” because of the coercive actions of State actors influencing the testimony

   of K.A. Tr. II 232.

         At this attempt by the prosecutor to drag in the testimony of K.A. form the first

   preliminary examination, a bench conference ensued where defense counsel objected

   on the basis that the trial court had declared that first preliminary examination a

   nullity based upon improper coercion of K.A. by state actors, and this prompted a

   discussion of this Court’s opinion on the State appeal and what it meant. Id. 232-35.

         The trial court eventually allowed the State to impeach by using the first

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   preliminary examination transcript, but with a contemporaneous instruction to the

   jury about the use of impeachment evidence. Id. 235.

         Given the green light by the trial court, the State then proceeded to go into

   detail about what K.A. had testified to at the first preliminary examination–which

   featured coerced testimony that Zilm had used his penis to touch her anus during the

   massage–punctuated by objections of defense counsel. Id. 237-88; 243 (objections

   of defense counsel); 255 (objections by defense counsel); 264 (objections by defense

   counsel); 274 (objections by defense counsel).

         In fact, during one bench conference, when the trial court allowed the

   prosecutor to continue using the prior “unreliable statements” made to Amy Howard

   to impeach K.A., defense counsel stated:

         In the face of two court rulings that that statement to Amy Howard was
         unreliable, the jury’s not gonna know that, Judge, ever? What was the
         purpose of all these appeals?

   Tr. II 256. The trial court ruled that the State would be allowed to use the statements

   as impeachment. Id. 256-57.

         K.A. was insistent, despite being, in essence, cross-examined on direct by Ms.

   McAmis–the same prosecutor whom K.A. had accused of coercing her into sticking

   with her original story so that she could see her mother again–that there was no

   sexual contact, and that Zilm’s “thumb accidentally jabbed me.” Tr. II 250. K.A.

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   testified that she told the neighbors that she had had a dream about what had

   happened to her when she was five. Tr. II 268.

         Even at that point, immediately after the event when K.A. was at the neighbor’s

   house, she testified that when the police arrived that her mom was crying, she was

   crying, and, “There were cops there. I was being told to say things. And I just had

   a nightmare.” Tr. II 269.

         On top of this, the prosecutor also was able to introduce statements made by

   the neighbor (Sanders). Tr. II 265. This “impeachment” was doubly dubious because

   the trial court, and this Court, had not only ruled the hearsay statements unreliable;

   but the trial court had stated on the record that Sanders herself was not a credible

   witness. Tr. 09/12/2014 at 18.

         In fact, K.A. told the jury that, “I was told what to say.” Tr. II 251. She

   testified that DHS personnel had told her what to say. Tr. II 282 (“They told me to

   tell somebody that he [Zilm] had done that stuff to me, and that my mom had talked

   to me and told me to say that he didn’t do it.”)

         She also reaffirmed, in front of the jury, that prosecutor Sarah McAmis told her

   to stick with her original story: “You [Ms. McAmis] told me after I told the truth that

   he did not do anything to me, you told me to go back to the story I had said before.”

   Tr. II 284; 284-85 (“Okay. And just so that I can make sure, are you saying I [Ms.

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   McAmis] told you what to say? Yes.”); Tr. II 285 (“And I think you guys think I’m

   not telling the truth when I say he didn’t do anything.”)

         K.A. was also asked by the prosecutor: “Do you still consider [Zilm] your best

   friend? Answer: Yes.” Tr. II 287. She testified that Zilm was important in her life,

   a relief from her own abusive biological father, and that Zilm had never treated her

   or her siblings inappropriately. Tr. III 9-25. At the conclusion of the direct

   examination by the State, and after the jury had been dismissed, K.A. asked the trial

   court if she could hug Zilm. Tr. III 3-5. This request was denied. Id. 4-5.

         On cross-examination, K.A. told the jury about how she was victimized

   sexually by “uncle David” when she was 5-years-old, that he was never dealt with and

   that no one had believed her, and that she had recurring nightmares over that incident

   that counseling did not help. Tr. III 26-30.

         On June 4, 2012, she had fallen asleep during a massage from Zilm and had

   one of the recurring nightmares about uncle David. Tr. III 30. She was face-down

   when she awoke, felt a jab around her private area, and told Zilm to stop the massage,

   and he did so. Id. 26-30.

         She never saw Zilm’s private parts, he never exposed himself to her, and she

   left the house because she was still in her nightmare-related confusion. Id. When she

   realized that she had made a mistake in thinking that Zilm had done something to her

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   she, unprompted, called Zilm and said that she had been mistaken and was sorry, and

   Zilm reassured her that it was okay. Tr. III 31-35.

             Faced with a key witness who not only recanted her allegations against Zilm,

   but affirmatively accused state officials–including the prosecuting attorney–of

   pressuring her to testify a certain way, the State attempted to explain this situation

   through the testimony of Rose Turner, the Managing Director at the Child Abuse

   Network, part of the Children’s Advocacy Center in Tulsa County, who explained to

   the jury the concept of “Child Sexual Abuse Accommodation Syndrome.” Tr. III 51-

   57.

             Defense counsel objected on the basis that this Court had not accepted such

   testimony, and it was irrelevant in any event under the circumstances of this case. Tr.

   III 50.

             These objections were overruled. Id.

             Child Sexual Abuse Accommodation Syndrome is based upon research done

   in the 1980's by Dr. Roland Summit. Tr. III 59. Characteristics such as helplessness,

   secrecy, delayed disclosure, and “accommodating” the abuser because of feelings for

   that person and sometimes there is a recantation. Id. 59-61. Turner, of course, had

   to admit that the “syndrome” is not like a medical diagnosis, and that there may be

   other causes for these behaviors, and just because a child exhibits these behaviors it

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   does not mean that sexual abuse had occurred. Id.

          At this point, defense counsel again objected on the basis of relevancy, and

   pointed out that there was no evidence establishing any relevance to the evidence in

   this case, nor any evidence with respect to secrecy, or feelings of helplessness (other

   than K.A. being made to feel helpless by state officials who do not believe her), and

   that the bulk of the Summit material on the syndrome was speculation. Tr. III 63.

          The objection was overruled, but the issue was sorted out at a bench conference

   where the trial court admitted to making a “mistake” in allowing the testimony as

   substantive evidence on the truthfulness or untruthfulness of the child’s testimony.

   Tr. III 64, 70.

          The problem with the testimony is that Turner had never met K.A., never

   diagnosed K.A., and did not have any involvement with this case. Tr. III 70. Defense

   counsel continued to object. Id.; 73, 74, 75, 76, 77, 79, 80, 81-82 (re-urging motion

   to disallow the testimony of Turner as speculative and irrelevant; objection noted and

   overruled).

          After Turner, the State called the neighbor, Katherine Sanford. Tr. III 121-25.

   Sanford testified to the fact that K.A. came over to her house that morning, appeared

   upset, and in a courtroom moment where everyone seemed to have forgotten the pre-

   trial rulings on hearsay statements made to K.A., the prosecutor asked Sanford what

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   K.A. said, and Sanford responded: “She came in, and I asked her, I said, what’s

   wrong? And she told me that Big Daddy [Zilm]–she called him Big Daddy,

   which–and she said had touched her.” Tr. III 127.

          Despite the prior rulings on the admissibility of this hearsay, the trial court

   allowed the hearsay testimony under the “excited utterance” exception to the hearsay

   rule. Tr. III 129. The defense objected. Id.; 132 (defense counsel again objecting,

   and noting that there is a difference between evidence that is admissible and evidence

   that is reliable).

          Sanford then testified that K.A. told her that Zilm had tried to put his penis “in

   her butt.” Tr. III 133. Upon hearing this, Sanford and her roommate called the

   police. Id.

          The State called the SANE nurse, Kathy Bell, who testified that K.A. was

   examined on June 4, 2012, which included a colposcope (a “microscope on wheels”)

   which magnifies the area of observation x15. Tr. III 151-55. According to Bell, she

   asked K.A. what had happened, and K.A. replied that Zilm had been giving her a

   massage, and had “put his penis into her butt hole.” Tr. III 160. It should be noted

   that K.A. insisted that she was told by authorities what to say to the SANE nurse. Tr.

   II 281.

          Defense counsel objected to this, noting the close proximity to this statement

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   to the others deemed unreliable, but this objection was overruled on the basis that it

   was admissible under the “medical advice” exception. Tr. III 159-60. The exam

   showed an “area of redness” around the anus of K.A., although all of the boxes on the

   exam form for genital itching, discharge, and bleeding were marked “No.” Id. 161-

   66. The “redness” could have been caused by a thumb slipping on massage oil. Id.

   171.

          The last State witness was Cpl. Gregory Smith of the Tulsa Police Department.

   Tr. III 181-85. On the day of the incident, Zilm had left the home and went to the

   home of his parents. Cpl. Smith went there, along with Det. Hodges and Officer

   Taylor, to interview Zilm. Tr. III 196-200. The interview with Zilm was played for

   the jury (State’s Exhibit #1) over objection by the defense. Tr. 201-08.

          Cpl. Smith testified that Zilm was cooperative with police, denied sexually

   abusing K.A., but acknowledged that he may have in advertently jabbed her with his

   thumb during the massage. Tr. 208-12.

          The State then rested, and the defense demurred, which was overruled. Tr. III

   216-20. The defense called two witnesses: K.A. and Officer Jon Wilson.

          K.A. was called to lay the foundation for the recording that she had made of

   DHS worker Lauren Hall, who interviewed the children, including K.A. as part of the

   juvenile proceeding. Tr. IV 17-23. K.A. recorded the conversation herself with her

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   iPod because she did not trust Hall. Id. This is the recording, introduced as Defense

   Exhibit #1 where Hall tells K.A. that she must stick to her original claim because the

   DNA evidence confirms that K.A. was sexually assaulted–which was a lie. Tr. IV 21

   (Defense Exhibit #1 played and admitted).

         The last witness called by the defense was Officer Jon Wilson of the Tulsa

   Police Department. He confirmed the buccal swab samples taken from K.A. and

   Zilm, and anal swabs from K.A., and the fact that there was no DNA from Zilm found

   on K.A. Tr. IV 44-51.

         After inquiry by the Court, Zilm chose to not take the stand. Tr. IV 58-67. The

   defense rested, and defense counsel re-urged a demurrer and motion for a directed

   verdict of acquittal. Tr. IV 67-69. These were overruled. Id.

         One other matter of importance arose during the defense case concerning other

   defense witnesses. K.A.’s older sister, P.A., a minor, wished to testify for Zilm, but

   her mother, Kristi, did not appear in court. Tr. IV 26. P.A. was transported to court

   by a friend of Kristi’s named Rhonda Shockey. Id. 27.

         This prompted a long, rambling soliloquy from the prosecutor about the

   propriety of allowing the defense to call any of the minor children as witnesses, and

   the intersection of the ruling of Judge Fransein in the juvenile proceedings ordering

   the children to be kept away from defense counsel and Zilm. Tr. IV 30-36. The

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   prosecutor implied that she would seek to alter the custody status of the children in

   the juvenile court: “And regardless of the outcome of this trial, I would anticipate that

   Judge Fransein will be taking a long, hard, good look at all of this.” Tr. IV 35.

         More seriously as to P.A. who was 15-years-old at the time, the prosecutor

   intimated that the State would be looking for perjurious statements of P.A. in the

   event that she did testify. Tr. IV 36. Based upon this threat of perjury, defense

   counsel elected to, under duress, not call P.A. as a witness. Tr. IV 41-42.

         The jury found Zilm guilty and recommended sentence of 36 years. Tr. IV 64.




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                                 IV.    LEGAL CLAIMS

                                      PROPOSITION I

         FOUR STATE AGENTS, INCLUDING THE PROSECUTOR IN
         THIS CASE, COERCED AND LIED TO THE MINOR
         COMPLAINING WITNESS IN ORDER TO INFLUENCE HER
         TO TESTIFY FALSELY AGAINST ZILM.

         A.     Exhaustion.

         This claim was raised by Zilm in the Oklahoma Court of Criminal Appeals and

   denied on the merits. See OCCA slip opinion at 2-4.

         B.     Merits.

         As he did on direct appeal, Zilm asserts that four state actors, including the

   prosecutor Sarah McAmis, coerced a minor complaining witness into testifying

   falsely at the first preliminary examination; and thereafter pressured her to lie about

   the veracity of her recantation.

         This conduct is a violation of clearly established federal law affording basic

   constitutional guarantees of fundamental fairness and Due Process of law under the

   Fourteenth Amendment. See Napue v. Illinois, 360 U.S. 264, 269 (1959).

         The Supreme Court has held that in evaluating Napue errors, courts apply a less

   demanding standard of review: whether “there is any reasonable likelihood that the

   false testimony could have affected the judgment of the jury.” United States v. Agurs,


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   427 U.S. 97, 103 (1976); accord United States v. Crockett, 435 F.3d 1305, 1317 (10th

   Cir. 2006). This materiality standard is, in effect, a form of harmless error review, but

   a far lesser showing of harm is required under Napue’s materiality standard than

   under ordinary harmless error review. See Smith v. Phillips, 455 U.S. 209, 220 n.10,

   (1982) (describing the “materiality requirement” that applies to Napue and Giglio

   claims).

         Zilm recognized in the OCCA that criminal prosecutions involving allegations

   of sexual abuse of a child are tough. They become much tougher when the minor

   complaining witness recants, or seeks to clarify what happened in a way which

   exonerates the accused. This case illustrates that dynamic in a dramatic way, and

   highlights the way in which the State personnel involved with the child are invested

   in making sure that the child does not change her story, and the lengths to which they

   will go to make sure that no one believes the recantation.

         In this case, DHS case worker Lauren Hall, forensic examiner Amy Howard,

   juvenile case agent Lori Hannagan, and prosecutor Sarah McAmis were all guilty

   of either manipulating K.A. and her testimony by either lying to her outright about

   the evidence in the case, or coercing K.A. to change her testimony with threats of

   taking her away from her mother–and as will be shown below, prosecutor Sarah

   McAmis is particularly culpable because she knew about the recantation, failed to

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   mention anything about it at, or prior to, the first preliminary examination, obtained

   inculpatory testimony form K.A. at that first preliminary examination knowing it to

   be false, and then proceeded to use that tainted testimony to impeach K.A. at trial.

         Something dramatic happened to K.A. on the morning of June 4, 2012. What

   was it? Did this emotionally damaged young girl have one of her regularly occurring

   dreams of past abuse which prompted a reaction during a massage, as she has asserted

   constantly for over five years now; or did Zilm intentionally try to place his penis in

   her anus? It seems that the former is more likely because the DNA exam showed no

   sign that Zilm had sexual contact with K.A.

         If K.A. stated to the neighbor (Sanford) that there was sexual contact,

   something which K.A. denied and any such statements have been deemed unreliable

   by the trial court and this Court, it was, according to K.A., because, “There were cops

   there. I was being told to say things. And I just had a nightmare.” Tr. II 269; see

   also Tr. II 250 (K.A. told the neighbors that she had had a dream about what had

   happened to her when she was five (the sexual assault by “Uncle David” in

   Louisiana)).

         When a day or two passed, and the drama of the situation had subsided, K.A.,

   unprompted by anyone, called Zilm and told him that she had been mistaken and that

   it was all a misunderstanding. O.R. 302-04; O.R. 152 (sworn statement of K.A.).

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         But, at this point, DHS, state investigators, and law enforcement were involved

   and we begin to see how these four named State officials manipulated K.A. and her

   testimony in this case. They manipulated the testimony of K.A. and the criminal

   justice system unlawfully in two ways.

         First, they all knew about the recantation but did not say anything about it to

   the defense or the court prior to the preliminary hearing. Remember, K.A. recanted

   almost immediately after the incident on June 4, 2012, within a day or two; and a

   preliminary examination was set before Judge Youll on September 26, 2012.

         What happened during this time?

         As outlined above, we know that DHS case worker Lauren Hall knew about

   K.A.’s recantation because she was caught on tape lying to K.A. about the DNA

   evidence. O.R. 304; Defense Exhibit #1 (the recording).

         We know that DHS worker Lori Hannagan knew about it because she wrote it

   down in an official document in the juvenile file. O.R. 303.

         We know that the forensic examiner from the juvenile center Amy Howard

   knew about it because K.A. testified that she did, she had access to K.A., and K.A.

   testified directly that Howard told her that if she stuck to her recantation then K.A.

   may not be returned to her mother. O.R. 304; O.R. 172-73 (Amy “told me to say what

   I said before and I’d get to go back to my mom and live with her again.”)

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         We also know that prosecutor Sarah McAmis knew about the recantation

   because she had access to all of these State witnesses and resources by virtue of her

   office and authority as a prosecutor, to K.A., the juvenile file, and K.A. testified under

   oath directly at trial, in response to questioning by McAmis herself, and a second time

   at a pre-trial hearing, that McAmis told her that she must tell the first story

   (implicating Zilm) rather than the recantation so that she could go back and live with

   her mom. Tr. 09/09/2014 122-23, 124; Tr. II 284-85.

         So, with the approaching preliminary examination before Judge Youll coming

   up on September 26, 2012, what did prosecutor Sarah McAmis, Amy Howard, Lori

   Hannagan, and Lauren Hall do, knowing that K.A. recanted? Nothing.

         They did nothing. They let K.A. testify under oath at the first preliminary

   examination that Zilm had sodomized her without informing the trial court or defense

   counsel that K.A. had actually refuted that testimony, on multiple occasions, and still

   did (and with knowledge that the DNA evidence supported Zilm, not the original

   complaint of K.A.). P.H. Tr. 09/26/2012 at 24-25 (testimony of K.A. at first

   preliminary examination).

         Had the situation remained this way through trial, Zilm would be presenting

   this issue as a Brady claim. However, defense counsel found out about the

   recantation by K.A., brought it to the attention of the trial court, and the trial court

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   issued an order remanding for a new preliminary examination specifically because

   State actors had used “unreasonable influence on the minor child K.A. to secure

   testimony to which she had since recanted repeatedly.” O.R. 339.

         Zilm points out to this Court, however, that as bad a simply not divulging the

   recantation is, much worse is using lies and coercion on K.A. to dissuade her from

   even mentioning it during her testimony. This is what all four of these State actors

   did, and in Zilm’s view their actions can fairly be construed as suborning perjury and

   witness manipulation of an 11-year-old girl to present false testimony.

         In addition to not disclosing the recantation, Lauren Hall was caught on tape

   lying to K.A. about the DNA evidence and telling K.A. that no one would believe her

   recantation because the DNA evidence proved the first story; Amy Howard pressured

   K.A. to testify to the first story by telling K.A. that if she recanted then she might not

   be given back to her mother; Lori Hannagan told K.A. to just blame the recantation

   on her mother, as if it was the mother’s idea and not K.A.’s true belief (to simply

   fabricate evidence, in other words); and prosecutor Sarah McAmis told K.A. that if

   she stuck to her original story implicating Zilm then K.A. could go back and live with

   her mother.

         This is why K.A. testified the way she did at the first preliminary examination;

   and Judge Glassco held as much in his Order when he found unreasonable influence

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   has been exerted by State actors, declared the first preliminary examination a nullity,

   and then remanded the matter for a new one.

         So, what was the tactic of the prosecutor at trial?

         It was simple: use the testimony of K.A. that she and the others fabricated at

   the “nullity” of the first preliminary examination to impeach her recantation testimony

   before the jury at trial. In Zilm’s view, this is what happened. The State was simply

   allowed to fabricate and coerce testimony from K.A. at the first preliminary

   examination, and then use that fabricated testimony at trial to impeach K.A. when she

   did not testify the way that the State wanted her to.

         As outlined, supra, prosecutor Sarah McAmis did exactly that, over a long

   stretch of questioning K.A., peppered with defense objections the entire way;

   including eliciting from K.A. testimony that McAmis had pressured K.A. to testify

   falsely. Tr. II 232-68.

         The prosecutor also developed this theme in her closing argument, telling the

   jury specifically to rely upon the testimony of K.A. at the first preliminary

   examination (the so-called legal “nullity”). Tr. V 15 (“you can use the fact that...she

   did tell all of the details about that at the preliminary hearing the first time she

   testified under oath. You can use all of those statements as evidence of guilt against

   the defendant.”)

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         In Zilm’s view, this is outrageous Government conduct and a violation of Due

   Process under the Fourteenth Amendment to the Constitution. Napue v. Illinois, 360

   U.S. 264, 269 (1959). Reversal is required if “the false testimony could, in any

   reasonable likelihood have affected the judgment of the jury.” See Giglio v. United

   States, 405 U.S. 153 (1972) (quoting Napue v. Illinois, 360 U.S. 264, 271 (1959)).

   The false testimony here is the coerced testimony of K.A. at the original preliminary

   examination.

         Moreover, McAmis is clearly a State actor for purposes of this claim, and Hall,

   Howard, and Hannagan are also considered State actors and agents of the prosecution

   regarding this claim. See United States v. Antone, 603 F.3d 566, 569-70 (5th Cir.

   1979) (in this context prosecution team includes prosecutors and investigators);

   United States v. Rangel, 519 F.3d 1258, 1265 (10th Cir. 2008) (Government conceded

   that case agent was the alter ego of the Government and of the prosecutor).

         Zilm would also note for the Court’s consideration that the dynamic outline

   above, and the evidence presented in this case of “accommodation syndrome,” is

   problematic for the fair functioning of the criminal justice system because, from the

   perspective of the State prosecutive machinery, there is no scenario in which the

   accused is either innocent or a mistake made by the complaining witness.

         If the complaining witness makes an allegation, it is believed. If she recants,

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   then the recantation is not believed, and there now exists the pseudo-scientific prop

   used by psychologists and prosecutors of “accommodation syndrome.” In other

   words, in cases like this one, there is an institutional investment by the State in

   believing allegations and disbelieving recantations.

         Zilm asserts that in his case, the State went too far in its efforts to mold K.A.’s

   story to fit its narrative. McAmis, Hall, Howard, and Hannagan, each of these State

   actors, overtly coerced and manipulated K.A. in this case to change her testimony in

   a way that implicated Zilm. McAmis used this coerced testimony during trial to

   impeach K.A. and to convict Zilm, and argued as much to the jury during her closing

   argument.

         Under the Napue standard, the Government conduct in this case was

   outrageous, and there exists a reasonable likelihood that the false testimony elicited

   from K.A. at the preliminary examination and at trial could have affected the

   judgment of the jury.

         The OCCA dismissed all of this evidence in the record–the recantation under

   oath, the recordings of coercion, the findings by the magistrate of State coercion–on

   the basis that the testimony complained of (the initial false story of K.A.) was not

   shown to be false. Zilm asserts that this holding is both contrary to and an

   unreasonable application of clearly established federal law and the undisputed facts.

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                                   PROPOSITION II

         PROSECUTORIAL MISCONDUCT DEPRIVED ZILM OF A
         FAIR TRIAL.

         A.     Exhaustion.

         This claim was raised by Zilm in the Oklahoma Court of Criminal Appeals and

   denied on the merits. See OCCA slip opinion at 4-7.

         B.     Merits.

         As Zilm outlined in Proposition I, supra, the prosecutor committed egregious

   misconduct in the way she handled the recantation statements of K.A. However, the

   same prosecutor committed four other instances of misconduct that must result in

   reversible constitutional error: 1) she threatened defense witnesses with perjury or

   to re-open the juvenile case if they testified; 2) she accused defense counsel of

   orchestrating the recording of Lauren Hall’s false DNA comment to K.A.; 3) she

   made improper argument to the jury that Zilm should be punished for exercising his

   right to a jury trial; and 4) she engaged in courtroom histrionics during closing

   argument, which seems to be a pattern with this particular prosecutor.

         1.     THREATS OF PERJURY & TO RE-OPEN JUVENILE CASE.

         During the defense case-in-chief, there arose a discussion of whether P.A., the

   older, but minor, sister of K.A., would be able to testify for Zilm. Tr. IV 26-42. The



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   problem was that the mother of the children, Kristi Alvarez, was not at court. The

   children, however, were in court, having been transported there by a family friend

   who had no legal authority over them. This prompted an objection by the prosecutor,

   and two statements regarding the proposed testimony of P.A. that are relevant here.

         First, the prosecutor, after a long general rant about the children testifying at

   all, noted the overlap between rulings of the juvenile court judge (Judge Fransein)

   that the children were to be kept away from Zilm and his counsel. Tr. IV 30-36. She

   then implied that she would seek to alter the custody status of the children in the

   juvenile court if they testified for Zilm: “And regardless of the outcome of this trial,

   I would anticipate that Judge Fransein will be taking a long, hard, good look at all of

   this.” Tr. IV 35.

         Second, concerning 15-year-old P.A., who was present in the courthouse and

   ready to testify for Zilm, the prosecutor made a not-so-subtle threat that perjury

   charges might be filed if P.A. testified for Zilm. Tr. IV 35 (“But now we’re going to

   proceed with her siblings being put on the stand to testify under direct, under cross-

   examination, with all due respect, to potentially subject herself to some type of

   perjurious statement.”)

         Zilm was standing right there and heard these statements by the prosecutor. In

   light of these statements by the prosecutor, defense counsel had a conference with

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   Zilm and P.A. and elected, under duress, to not call P.A. Tr. IV 41-42.

         These threats by the prosecutor effectively chilled the right of Zilm to present

   his defense. Crane v. Kentucky, 476 U.S. 683, 690 (1986) (“[T]he Constitution

   guarantees criminal defendants a meaningful opportunity to present a complete

   defense.”) As set forth in his affidavit attached to the Motion to Supplement filed in

   this Court, Zilm asserts that he chose to not call P.A. as a witness (or his mother Mary

   Zilm or his fiancee Kristi Alvarez) out of fear that the prosecutor would prosecute

   them for perjury and seek to have the State custody proceeding re-opened and the

   kids taken away from Kristi.

         As set forth in their affidavits and statements attached to the Motion to

   Supplement, each of these witnesses would have had important information for the

   jury to hear and was willing and able to testify if called (P.A. regarding Zilm’s

   character as a father and all of the positive, valuable lessons that he taught her; Kristi

   Alvarez to testify concerning Zilm’s character as a good father and fiance/boyfriend,

   and that he suffered from a medical condition that caused “leakage” from his penis

   as a result of medication which explained his statement to the police about it; and

   Mary Zilm, his mother, who was present during the police questioning at her home

   and heard the police officers discuss with Zilm whether he needed a lawyer).




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         2.     ACCUSING DEFENSE COUNSEL.

         As the Court will recall, K.A. was distrustful of DHS workers and she recorded

   her conversation with DHS worker Lauren Hall with her iPod.                This proved

   embarrassing to the State, and damaging to its case, because Hall told K.A. that no

   one believed her recantation because the DNA evidence proved Zilm was guilty,

   which was a lie; and this bold manipulation of K.A.’s testimony was pivotal in the

   district court declaring the first preliminary examination a “nullity” and remanding

   for a second one.

         During closing arguments, the prosecutor commented on the fact that K.A. had

   recorded Hall, telling the jury:

         MS. MCAMIS:                  [Defense] counsel also asked and also said
                                      that the fact that [K.A.] recorded Lauren Hall,
                                      that that corroborated that what
                                      everybody–that everybody told her what to
                                      say. And when he talked about that, he talked
                                      about how gutsy, and how innovative, and
                                      how smart [K.A.] was for doing that. Does
                                      anybody think it’s a huge coincidence that
                                      right when she met with Mr. Smallwood
                                      alone, then she recorded Lauren Hall? That’s
                                      a coincidence.

         MR. SMALLWOOD:               Judge, I object to that. Ask the jury be
                                      admonished to disregard it. She’s impugning
                                      my character based on no evidence
                                      whatsoever. Ask the jury be admonished to
                                      disregard it. Move for mistrial.

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         THE COURT:                  Motion for mistrial be denied. Ms. McAmis,
                                     confine yourself to the matters that are
                                     actually of evidence, and not of statements of
                                     counsel during voir dire.

   Tr. V 51. The trial court erred in refusing to admonish the jury and refusing to grant

   a mistrial. It is patently prejudicial misconduct for the prosecutor to insinuate that

   defense counsel had manipulated or instructed K.A. to record Lauren Hall,

   particularly in light of her own misconduct.

         This was reversible error. See United States v. Holmes, 413 F.3d 770, 775 (8th

   Cir. 2005) (personal unsubstantiated attacks on the character and ethics of opposing

   counsel have no place in the trial of any criminal or civil case); Cline v. United States,

   395 F.2d 138, 141 (8th Cir. 1968) (improper for a prosecutor to accuse defense

   counsel of dishonesty).

         3.     IMPROPER COMMENT ON RIGHT TO TRIAL.

         During closing arguments, the prosecutor focused on K.A. and the struggles

   that she had gone through in this case (foregoing, naturally, the conduct of State

   agents in trying to influence her testimony), and told the jury: “It’s wrong that you

   [Zilm] violated a little girl and then put her through the next four years to get to this

   day.” Tr. V 55.

         Trial counsel objected, calling the comment “outrageous conduct,” moved to



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   admonish the jury, and moved for a mistrial. Id. The trial court denied the motion

   for a mistrial, but did sustain the objection and instructed the jury to disregard it. Id.

          Despite the admonition, Zilm asserts that this statement was egregious, and that

   the curative instruction from the bench was ineffectual. The prosecutor had accused

   Zilm of victimizing K.A. by exercising his right under the Sixth and Fourteenth

   Amendments to a jury trial–and that it was somehow his fault that the process had

   taken four years–nevermind the fact that the bulk of the delay was the State appealing

   a legal ruling, and that it was the State’s own unlawful actions that caused the remand

   for a second preliminary examination.

          Comment on the accused’s exercise of a constitutional right is error. Bosse v.

   State, 2015 OK CR 14, ¶30, 360 P.3d 1203 (“The exercise of a constitutional right,

   whether to refuse to consent to a search, to refuse to waive Miranda rights or to

   decline to testify at trial, is not evidence of guilt.”) (quoting United States v. Clariot,

   655 F.3d 550, 555 (6th Cir. 2011)).

          In addition, there are “some occurrences at trial [that] may be too clearly

   prejudicial for . . . a “curative instruction to mitigate their effect.” Donnelly v.

   DeChristoforo, 416 U.S. 637, 644 (1974). Zilm asserts that this comment is one such

   occurrence.




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         4.     COURTROOM HISTRIONICS.

         Finally, the prosecutor engaged in inflammatory courtroom histrionics. Zilm

   noted to the OCCA that this claim should not come as a shock because this prosecutor

   in Tulsa County has engaged in similar conduct in multiple cases.6 See Scott Allen

   Bolden v. State, No. F-2015-1112 (Okl.Cr., March 24, 2017) (unpublished) (Smith,

   J., concurring in result) (concerned with the tactics of the prosecutor in closing

   argument which involve “theatrical presentations”); Gregory Antwon O’Neal v. State,

   No. F-2013-958 (Okl.Cr., April 5, 2016) (unpublished) (remanded for re-sentencing

   because of theatrical conduct during closing of Ms. McAmis); and Emory Norris

   Gaines v. State, No. F-2011-867 (Okl.Cr., September 12, 2012) (unpublished)

   (prosecutor McAmis committed error in closing, but harmless).

         In Zilm’s case, she theatrically mocked the demeanor of Zilm when he was

   questioned by the police. Tr. V 48 (“If the police showed up right now and said an

   11-year-old girl is saying you put your penis in her, your response would be horrified.

   That’s the most disgusting, disturbing thing anybody could ever accuse you of. How

   could you say that? Get the hell out of my house.”)

         Defense counsel objected: “I object to this. This is histrionics. This is

   improper. And ask the jury be advised to disregard it and move for a mistrial.” Id.

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                Copies of these unpublished opinions are attached to this Brief.
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   The trial court denied the motion for a mistrial, but instructed Ms. McAmis:

   “Counsel, I’ll ask you to refrain from histrionics.” Id.

         Even the trial court judge described her actions as histrionics. Zilm asserts that

   this prosecutor continues to engage in inflammatory rhetoric during closing

   arguments and it must result in reversible error. See, e.g., Pryor v. State, 2011 OK

   CR 18, ¶ 5, 254 P.3d 721, 722-23 (blatant appeals to emotion are strongly disfavored,

   and can result in reversible error).

                                      CONCLUSION

         Considered individually and collectively, these instances of prosecutorial

   misconduct constitute reversible error.




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                                  PROPOSITION III

         MULTIPLE ERRONEOUS EVIDENTIARY RULINGS
         PREJUDICED ZILM RESULTING IN A FUNDAMENTALLY
         UNFAIR TRIAL.

         A.     Exhaustion.

         This claim was raised by Zilm in the Oklahoma Court of Criminal Appeals and

   denied on the merits. See OCCA slip opinion at 8-11.

         B.     Merits.

         As he did in the OCCA below, Zilm asserts that the trial court committed

   reversible error by admitting hearsay statements made by K.A. to 1) Katherine

   Sanford (the neighbor); 2) Kathy Bell (the SANE nurse); and 3) K.A.’s testimony at

   the first preliminary examination. The jury heard these prior statements of K.A. but

   legally should not have, to the prejudice of Zilm.

         As Zilm established, supra, the use by the State of hearsay statements of K.A.

   was, at least in theory, drastically circumscribed in this case. At the reliability

   hearing, Judge Glassco ruled that hearsay statements made by K.A. to the neighbor

   (Sanford) and to forensic interviewer Amy Howard were unreliable and therefore

   inadmissible. Tr. 09/12/2014 at 16-18. The OCCA upheld this ruling when the State

   appealed. O.R. 511.

         In addition, the testimony by K.A. at the first preliminary examination was

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   found to be coerced by State agents by Judge Glassco, and therefore a legal nullity.

   It is odd then, that the State was able to introduce all of these hearsay statements to

   the jury at trial. It happened as follows:

         As to the hearsay statements by K.A. made to Sanford, the trial court allowed

   them in, over objection, under the “excited utterance” exception to the hearsay rule.

   Tr. III 128-29; see 12 O.S. § 2803(2) (“A statement relating to a startling event or

   condition made while the declarant was under the stress of excitement caused by the

   event or condition).

         As to the hearsay statements by K.A. made to SANE nurse Kathy Bell, the trial

   court allowed them in, over objection, under the “medical advice” exception to the

   hearsay rule. Tr. 156-60; see 12 O.S. § 2803(4) (“Statements made for purposes of

   medical diagnosis or treatment and describing medical history, or past or present

   symptoms, pain or sensations, if reasonably pertinent to diagnosis or treatment.”)

         As to the prior testimony of K.A. at the first preliminary examination, the trial

   court allowed it on the basis that it was used for impeachment. Tr. II 235; 256-57.

         Defense counsel objected to the State’s use of K.A.’s hearsay statements in all

   of these instances because her statements had been deemed legally unreliable by the

   trial court as to the neighbor Sanford; and the first preliminary examination testimony




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   of K.A. had been deemed coerced by State actors.7 Thus, there seems to be tension

   on this issue between the use of exceptions to the hearsay rule and impeachment rules

   on the one hand, which allow the statements; and the determination that the

   statements were unreliable and coerced, which would disallow them.

         In Zilm’s view, the trial court got it wrong.

         First, the trial court allowed the exceptions to swallow the rule. The purpose

   of the hearsay rule, generally, is to distinguish hearsay from direct evidence, which

   is usually given under oath, in court, upon pain of perjury, and subject to cross-

   examination. Thus, hearsay is a rule of exclusion. See 12 O.S. § 2802 (“Hearsay is

   not admissible except as otherwise provided by an act of the Legislature.”)

         The exceptions to the rule, which allow inclusion at trial without the traditional

   safeguards that accompany direct evidence, are exceptions because the Legislature

   deemed certain situations as producing, in general and without anything more,

   reliable information, such as the “excited utterance” and “medical advice” exceptions

   at issue here.



         7
                Although the trial court held that the hearsay statements to Sanford were
   unreliable, and that the testimony of K.A. at the first preliminary examination were
   coerced, the trial court did not explicitly rule on the reliability of the hearsay
   statements made to the SANE nurse, Kathy Bell. However, defense counsel objected
   to them on the basis that they were made within hours of the “unreliable” statements
   made to the neighbor Sanford and were therefore tainted as well. Tr. III 156-60.
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         The problem here is that although these exceptions to the hearsay rule are

   regarded generally as producing reliable information or testimony; in Zilm’s case,

   there was “something more” in the form of special circumstances and actual findings

   by the trial court that, in this particular case, the general rule of reliability did not

   apply, and that in fact the hearsay statements made by K.A. were not reliable, and in

   the case of her prior testimony, was not only unreliable, but had been affirmatively

   coerced and influenced improperly by the State.

         Thus, in Zilm’s view, the finding by the trial court that the statements were

   unreliable must cut through the hearsay rule and obviate application of the two

   exceptions at issue here. The reason is that the information contained in the hearsay

   statements has been deemed to be unreliable, and therefore the same unreliable

   statement cannot be magically made reliable because it is made to a SANE nurse or

   to a neighbor in close proximity to a startling event.

         Second, and this applies chiefly to the testimony of K.A. at the first preliminary

   examination, the State does not have clean hands. State actors are responsible for

   unlawfully influencing the testimony of K.A., by lies and coercion, which prompted

   the trial court to declare the first preliminary examination a nullity. The State should

   not be able to profit from its own unlawful acts in this manner.

         In sum, the findings by the trial court that the statements were unreliable should

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   override the application of any hearsay exceptions. The constitutional burden of

   proof standard of beyond a reasonable doubt demands that the State’s evidence be

   free of the taint of unreliability.

          The OCCA found no abuse of discretion in allowing in this hearsay, but Zilm

   asserts that this holding is based upon the erroneous holding in Proposition I, supra,

   in which the OCCA found no Napue claim where the State clearly coerced the

   inculpatory statements from the minor complaining witness.

          In this light, the bad faith of the prosecutor, combined with the falsity of the

   statements, remove this claim from state evidentiary rules to fundamentally unfair

   under the Fourteenth Amendment.

          In the habeas context, trial errors being reviewed will be deemed harmless

   unless they had a substantial and injurious effect or influence in determining the

   verdict. Brecht v. Abrahamson, 507 U.S. 619, 623 (1993); accord Patton v. Mullin,

   425 F.3d 788, 800 (10th Cir. 2005). If this Court is in “grave doubt” as to the

   harmlessness of an error, the habeas petitioner must prevail. O’Neal v. McAninch,

   513 U.S. 432, 436 (1995). “Grave doubt” exists when, in light of the entire record,

   the matter is so evenly balanced that the Court feels itself in virtual equipoise

   regarding the harmlessness of the error. Id.

          In this case, prejudice has been shown and habeas relief is warranted.

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                                     PROPOSITION IV

         THE TRIAL COURT ERRED IN REFUSING TO SUPPRESS THE
         STATEMENT MADE BY ZILM TO POLICE.

         A.     Exhaustion.

         This claim was raised by Zilm in the Oklahoma Court of Criminal Appeals and

   denied on the merits. See OCCA slip opinion at 12-15.

         B.     Merits.

         Police interviewed Zilm at the home of his parents, and the jury heard a

   recording of that interview through the testimony of Cpl. Gregory Smith and State’s

   Exhibit #1. Prior to trial, defense counsel had filed a motion to suppress, a Jackson

   v. Denno hearing was held (in two parts), and the trial court issued an order denying

   the motion. O.R. 608. Defense counsel objected again to the introduction of Zilm’s

   statements and to the recording at trial. Tr. III 201-05.

         During the interview, Zilm repeatedly denied sexually abusing K.A., but he did

   make statements to police in which he admitted to giving K.A. the massage, but

   denied intentionally touching K.A. inappropriately. See State’s Exhibit #1 (Q. She’s

   stating that you put oil on her vagina and her butt, and that you tried to put your penis

   in her vagina. A. I didn’t do that. Q. And then, when that didn’t work, you put it in

   her butt. A. I didn’t do that.)



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         He also made other statements about being “horny” but not in front of the

   children (they were in the living room, he was in the kitchen), that is thumb may have

   slipped on the oil and jabbed K.A., and when the police officer mentioned going out

   to the car to get a DNA kit to take a sample, Zilm remembered that he may have left

   DNA on K.A. because as he laid down he “squished his balls” and had some

   “leakage” of semen from his penis which was the result of a condition.

         These statements by Zilm were seized upon by the prosecutor in closing

   arguments. Tr. V 37 (“But then you would have to believe this, darn the luck. Of all

   times for this to happen while his is giving a naked 11-year-old a massage, shoot fire,

   that’s when his balls get squished between his legs. And darn the luck, oh, this is so

   bad, but darn the luck, that’s when some cum comes out.”; Tr. V 45 (“Because let’s

   just say, I don’t know how or why, but under some circumstances you happen to find

   yourself alone with an 11-year-old, and you have some cum on your hand. How

   would an innocent man respond to that?”)

         Zilm himself testified at the Jackson v. Denno hearing on the voluntary nature

   of his statements. Tr. 09/28/2016 at 39. Through his testimony, along with Cpl.

   Smith at trial, we know that three police officers went to interview Zilm at the home

   of his parents, two detectives (Smith and Hodges) and uniformed police officer

   (Officer Taylor). Id. at 51-52; Tr. III 196-200.

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         Zilm sought suppression of his statements to these officers on two grounds.

         First, as argued by defense counsel at trial, officers should have issued the

   Miranda warnings to Zilm because he was in custody. O.R. 582. As counsel pointed

   out below, “custody” is a legal question that focuses on the dynamic and interplay

   between police and the subject being questioned; it is not a matter of location. This

   means that a person may be in “custody” even if questioned in their own home. See

   Orozco v. Texas, 394 U.S. 324 (1969); O.R. 584.

         The legal inquiry of whether a suspect is in “custody” for Miranda purposes

   is whether a reasonable person in the suspect’s position would have understood the

   situation as the functional equivalent to a formal arrest. See United States v. Jones,

   523 F.3d 1235 (10th Cir. 2008).

         Here, Zilm was approached by three officers, one of whom was uniformed with

   a gun, was separated from his parents (in their own home) so that the police could talk

   to him privately, were in close physical proximity to Zilm the entire time, and

   according to Zilm, his perception of the uniformed officer who stood guard at the

   door was that the officer was there to “keep me from getting to my parents and to

   keep me from leaving.” Tr. 09/28/2016 at 51-52. Zilm was not given Miranda

   warnings. Id. 52.

         Contrary to the conclusion of the trial court and the OCCA, Zilm was subject

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   to the functional equivalent of an arrest during the time that he was questioned, this

   Court must find that he was in custody for Miranda purposes, and therefore suppress

   his statements because Miranda warnings were not given.

         Second, and this claim was not raised in the trial court, Zilm asked if he needed

   a lawyer at the beginning of the interview. See Affidavit of Adam Clayton Zilm

   attached to Motion to Supplement filed in the OCCA. The detectives responded,

   “No, we just want to ask a few questions.” (Det. Smith), and, “I don’t know, do you?”

   (Det. Hodges).

         This exchange was, curiously, not contained in the recorded version of the

   interview provided to the defense. Zilm verified in his affidavit that he asked them

   about an attorney, and their responses. In addition, Mary Zilm (Zilm’s mother) was

   present during the exchange and can verify that it occurred. See Affidavit of Mary

   Zilm attached to Motion to Supplement filed in the OCCA.

         Zilm believes that detectives deleted this exchange from the original recording,

   or did not record it at all. The fact that Zilm asked if he needed an attorney, and was

   told “no” by police, indicates deception by officers and calls into question the

   voluntary nature of the statements made by Zilm.

         The prosecution has the burden of establishing by a preponderance of the

   evidence that a suspect waived his Miranda rights and that his statements to police

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   are truly the product of free choice. Colorado v. Connelly, 479 U.S. 157, 168-69

   (1986).    Voluntariness requires “careful evaluation of the totality of the

   circumstances, including the accused's characteristics, the conditions of the

   interrogation, and the conduct of law enforcement officers.”         Schneckloth v.

   Bustamonte, 412 U.S. 218, 226 (1973).

          Voluntariness of a confession or incriminating statements is judged from the

   totality of the circumstances, including the characteristics of the accused and the

   details of the interrogation. Van White v. State, 1999 OK CR 10, ¶¶ 45, 990 P.2d 253,

   267.

                                    CONCLUSION

          The statements by Zilm should be suppressed because: 1) Zilm was in custody

   and was not advised of his rights under Miranda; and 2) Zilm asked whether he

   needed a lawyer and was told that he did not, which constitutes misconduct by law

   enforcement that rendered his statements involuntary. The conclusion to the contrary

   by the OCCA is contrary to clearly established federal law as set forth above.




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                                    PROPOSITION V

         ZILM RECEIVED INEFFECTIVE ASSISTANCE OF COUNSEL
         IN VIOLATION OF THE SIXTH AND FOURTEENTH
         AMENDMENTS TO THE CONSTITUTION.

         A.     Exhaustion.

         This claim was raised by Zilm in the Oklahoma Court of Criminal Appeals and

   denied on the merits. See OCCA slip opinion at 15-17.

         B.     Merits.

         Clearly established federal law holds that a defendant in a criminal case is

   entitled to the effective assistance of counsel; and constitutionally deficient counsel

   violates the Sixth and Fourteenth Amendments to the United States Constitution.

   Strickland v. Washington, 466 U.S. 668 (1984).

         Under the familiar constitutional test established in Strickland, an ineffective

   assistance claim has two components: a defendant must show that counsel’s

   performance was deficient, and that the deficiency prejudiced the defense. Wiggins

   v. Smith, 539 U.S. 510, 521 (2003).

         The performance of trial counsel is measured by an objective standard of

   reasonableness under prevailing professional norms. Rompilla v. Beard, 545 U.S.

   374, 380 (2005). If counsel’s performance falls under this standard, the appellant

   must show a reasonable probability that, absent trial counsel’s deficient performance,

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   the outcome of the trial would have been different. Id.

         Here, the prosecutor clearly signaled to the defense that she would not only

   seek to re-open the juvenile case to change the custody arrangement of Kristi’s kids

   (including K.A. and P.A.), but that she would also be looking to file perjury charges

   against defense witnesses in the event that they took the stand, specifically against

   P.A. Tr. IV 35-36.

         As defense counsel noted upon hearing these threats, he consulted with the

   witness, P.A., and elected, under duress, to not call P.A. as a witness. Tr. IV 41-42.

   However, the record does not reflect that trial counsel made a record regarding the

   additional witnesses that Zilm wished to call, but decided not to because the threats

   made by the prosecutor. These witnesses were his mother, Mary Zilm, and his

   fiancee and mother of K.A., Kristi Shaneck. See Affidavit of Adam Clayton Zilm

   attached to Motion to Supplement filed in the OCCA.

         Zilm argued in the OCCA that, to the extent that trial counsel’s “under duress”

   statement in the record is deemed by insufficient to preserve this error, Zilm asserts

   that trial counsel’s performance was deficient and that he was prejudiced thereby.

   Trial counsel should have made a record that Zilm felt threatened by the comments

   of the prosecutor, that this feeling was reasonable, that it chilled his right to present

   a defense, and a record should have been made that Zilm forewent calling these

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   witnesses because of the threats, and an offer of proof should have been made.

          Zilm was prejudiced because his mother, Mary Zilm, could have corroborated

   the fact that Zilm actually did ask the detectives whether he needed a lawyer, and

   their answer that he did not. She was standing there listening when it happened.

          Similarly, the prosecutor made much of the fact that Zilm had “cum” on his

   fingers and told detectives that his DNA might be on K.A. Tr. V 37; 45. However,

   trial counsel failed to call Zilm or his fiancee Kristi Shaneck to the stand to explain

   that his “leakage” problem was actually a medical condition that had manifested when

   Zilm had begun taking a prostate health supplement prior to the alleged incident with

   K.A.

          This was a critical aspect of the case because it would have explained to the

   jury that Zilm had ejaculate at the time because of a medical condition, not because

   he was aroused by K.A.

          Under the Strickland standard, Zilm was deprived of the effective assistance

   of counsel, and the rejection of this claim by the OCCA was an unreasonable

   application of the Strickland standard.




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                                    PROPOSITION VI

         THE CUMULATIVE EFFECT OF THE ERRORS DEPRIVED
         ZILM OF A FUNDAMENTALLY FAIR TRIAL.

         A.      Exhaustion.

         This claim was raised by Zilm in the Oklahoma Court of Criminal Appeals and

   denied. See OCCA slip opinion at 18.

         B.      Merits.

         The OCCA found no error, thus conducted no cumulative error analysis. Thus,

   because the OCCA found no error and did not conduct a cumulative error analysis,

   this Court must perform its own de novo under the Brecht standard. Grant v. Royal,

   886 F.3d 874, 995 (10th Cir. 2018).

         Also, it must be noted that, in at least one instance, the Supreme Court has

   vacated the decision of a circuit court of appeals on the basis, in part, that “the lower

   courts erred in failing to assess the cumulative effect of [unlawfully] suppressed

   evidence with respect to [a defendant’s] capital sentence.” Cone v. Bell, 556 U.S. 449,

   476 (2009).

         The OCCA held that, since no individual errors required relief, there is no

   accumulation of error to consider.

         This is incorrect.



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         As set forth, supra, Zilm’s trial was replete with reversible error, starting at the

   very beginning with four State actors–including the prosecutor–lying and coercing

   the minor complaining witness into testifying falsely in court, with a prosecutor who

   threatened defense witnesses with perjury and custody challenges if they testified,

   accused defense counsel during closing arguments of manipulating K.A. into

   recording Lauren Hall, commented improperly on Zilm’s right to have a jury trial as

   continued harassment of K.A., her continued courtroom histrionics for which she has

   been chastised by this Court on several occasions, the trial court allowing

   “unreliable” hearsay statements of K.A. under the guise of hearsay exceptions, denial

   of suppression of his statements to detectives during the home interview, and

   ineffective assistance of counsel in failing to develop the record on how the

   prosecutor chilled the defense by threatening defense witnesses with perjury and

   custody changes.

         These errors are all individually reversible, and combined form a cumulative

   prejudicial effect that must result in reversal.

                              V. REQUEST FOR RELIEF

   1.    A full and fair evidentiary hearing is requested as to the Petition as a whole and

         in particular as to any issues which involve facts not apparent from the existing

         record and to any issues which involve facts disputed by the State.

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   2.    Zilm requests specifically at least thirty (30) days after the evidentiary hearing

         transcript is prepared in which to file a memorandum of law in support of the

         Petition addressing facts developed at that hearing and previously known facts.

   3.    Zilm prays that the Court issue a Writ of Habeas Corpus or other appropriate

         Writ to have Petitioner brought before it so that he may have discharged his

         unconstitutional confinement and conviction.

   4.    Zilm requests also that the Court grant such other relief as may be appropriate

         as to dispose of the matter as law and justice require.

         WHEREFORE, Adam Clayton Zilm, prays that the Court grant him the relief

   to which he may be entitled in this proceeding.


                                           Respectfully submitted,


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                             CERTIFICATE OF SERVICE

          This is to certify that on this 19th day of January, 2021, I electronically
   transmitted the attached document to the Clerk of the Court using the ECF System for
   filing. Based on the records currently in the file, the Clerk of the Court will transmit
   a Notice of Electronic filing to the following ECF Registrant:

   Office of the Attorney General
   e-mail:      fhc.docket@oag.state.ok.us



                                           /s/ James L. Hankins
                                           James L. Hankins




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